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THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

TERRA PARTNERS; TERRA XXI, LTD.;
ROBERT WAYNE VEIGEL;

ELLA MARIE WILLIAMS VEIGEL;
VEIGEL FARMS, INC.;

VEIGEL CATTLE COMPANY; and
VEIGEL FARM PARTNERS,

No. 2:15-cv-236-J
Judge Robinson

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Plaintiffs, §
§
Vv. §
§

AG ACCEPTANCE CORPORATION, §
§

Defendant. §

BRIEF IN SUPPORT OF RESPONSE TO AG ACCEPTANCE’S
MOTION FOR SUMMARY JUDGMENT

Plaintiffs, by and through their counsel, Keleher & McLeod, P.A. (“Plaintiffs”) hereby
provide their Brief In Support of Response To Defendant’s Motion For Summary Judgment!
[Doc. 55] (“Motion”) and Ag Acceptances’ Brief in Support of Its Motion For Summary
Judgment (“Brief”) [Doc. 56] in which Ag Acceptance, in part, expressly renews its arguments
made in Defendant’s Rule 12(b)(6) Motion to Dismiss for Failure to State a Claim (“MTD”).
[Doc. 39]. Plaintiffs also provide an Appendix containing the exhibits referenced herein, which
is filed concurrently herewith.

I. Response to AAC’s Initial Statement
Defendant Ag Acceptance Corporation’s (“AAC”) discussion regarding litigation history is
not relevant. It serves only to remind the Court and the Plaintiffs of the Injunction (as defined in

the Brief) entered by the Fifth Circuit which is not legally relevant in this case. On December 11,

 

' This brief in response is timely pursuant to the Court’s Order Granting Request For Leave To

File Out Of Time, entered on March 23, 2016. [Doc. 65]
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2014, after this matter was removed to federal court by AAC, Plaintiffs’ sought approval from
this Court to proceed in this matter. [Doc. 20-1, the request, and Doc. 23, summarizing
Plaintiffs’ efforts to comply with the Injunction and the Court’s response to those efforts.]
Plaintiffs have continued to comply with the Injunction. AAC’s introductory discussion is
merely a distraction, particularly where Plaintiff's claims in this case did not arise until
November 2012 - years after the transactions at issue in the Injunction.

Further, Plaintiffs are not challenging AAC’s right of title and ownership of the Texas
Property or any prior judgment of this Court in this case. Rather, Plaintiffs are merely seeking an
accounting of proceeds received by AAC from the sale of the Texas Property — which AAC

acquired subject to superior secured debts held by its affiliate.

II. Response to Purported Undisputed Material Facts

AAC’s Motion is precluded by disputed material facts including whether AAC is the
Plaintiffs’ creditor at least as of November 2012 when AAC sold the Texas Property free and
clear of superior debts and collected funds previously held in the registry of the 222" District
Court in Deaf Smith County, Texas.

AAC’s Motion is predicated in part upon an argument that there is not a debtor-creditor
relationship necessary to support Plaintiffs’ claims. AAC claims, in its asserted undisputed
material facts, not to have been a creditor of Plaintiffs since sometime in October 2003 based on
findings made by this Court in Rabo Agrifinance, Inc. v. Veigel Farm Partners, et al., No. 2-05-
CV-243, 2008 WL 341425 *3 (N.D.Tex. Feb. 7, 2008). [Brief page 4 fn 4]. As such, AAC
asserts that there is no requisite debtor-creditor relationship between Plaintiffs and AAC.
However, that argument is barred by prior judgments and judgment liens of this Court, the 222"4

District Court in Deaf Smith County Texas, and the Fourth and Tenth Judicial District Courts in
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New Mexico and other liens of record clearly showing AAC remains a creditor of record of
Plaintiffs.

Although this Court ruled in Rabo Agrifinance, Inc. v. Veigel Farm Partners, et al., No.
2-05-cv-243, 2008 WL 341425 *3 (N.D.Tex. Feb. 7, 2008) that AAC had reassigned all of its
interest in four promissory notes [Exhibit 1 of the Appendix] originally given to Ag Services of
America, Inc. back to Ag Services of America, Inc. sometime in October 2003, AAC fails to
mention that after October 2003, this Court nevertheless awarded judgments including attorney
fees and costs to AAC in Cause No.s 2-06-cv-153 [Exhibit 2 of the Appendix] and 2-06-cv-272.
[Exhibit 3 of the Appendix.]

This Court awarded AAC a judgment including $153,404.50 in attorney fees in Rabo
Agrifinance, Inc. and Ag Acceptance Corporation v. Terra XXI Ltd. et al., No. 2:06-cv-153, Doc.
86, (N.D.Tex. Jan. 15, 2008). AAC abstracted its judgment in Deaf Smith [Exhibit 4 of the
Appendix] and Burnet Counties [Exhibit 5 of the Appendix] in Texas on February 19, 2008 and
domesticated its judgment in Quay County, New Mexico in Case No. D-1010-CV-200800063 in
the Tenth Judicial District Court on June 6, 2008 [Exhibit 6 of the Appendix] and recorded on
June 13, 2008 [Exhibit 7 of the Appendix] and in Guadalupe County, New Mexico in Case No.
D-424-CV-2008-36 in the Fourth Judicial District Court on June 6, 2008 [Exhibit 8 of the
Appendix] and recorded on June 13, 2008. [Exhibit 9 of the Appendix.]

Although AAC subsequently recorded partial releases of Terra Partners only in Deaf
Smith [Exhibit 10 of the Appendix], and Burnet [Exhibit 11 of the Appendix] counties and a
partial release of the Texas Property in connection with AAC’s sale of the Texas Property,
[Exhibit 12 of the Appendix] the balance of AAC’s judgment liens remain of record reflecting
that AAC remains a judgment creditor of Plaintiffs even if it has been adjudicated by this Court

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that AAC reassigned the four promissory notes back to Ag Services of America, Inc. sometime in
October 2003.

AAC also fails to mention that in addition to the four promissory notes at issue in Cause
No.s 2-05-cv-243 and 2-06-cv-153, there was another promissory note dated November 1, 2002
[Exhibit 13 of the Appendix] given to and held by AAC which filed suit to collect on April 24,
2007 and was awarded a default judgment for $256,214.28 plus costs and 18% interest on
November 28, 2007 in Cause No.CI-2007K-192 in the 222™ District Court in Deaf Smith
County, Texas [Exhibit 14 of the Appendix] which AAC abstracted in Deaf Smith County on
December 12, 2007. [Exhibit 15 of the Appendix.] AAC recorded a partial release of the Texas
Property in connection with AAC’s sale of the Texas Property, [Exhibit 16 of the Appendix] but
the balance of AAC’s judgment liens remain of record conclusively showing that AAC remains a
judgment creditor of Plaintiffs despite AAC’s assertion to the contrary.

Such judgment debts owed to AAC are also secured by mortgages with future
indebtedness clauses held by AAC on the New Mexico property. See Exhibits A and B to
Amended Petition. [Doc. 38-1 (Exhibit 17 of the Appendix) and 38-2 (Exhibit 18 of the
Appendix).] AAC also admits that the mortgages were recorded. [Answer to Amended Petition,
{ 22 and 23, Doc. 51.]

To date, Plaintiffs have not received from AAC any notice of release of these mortgages
also securing such judgment debts nor does there appear to be any assignment of such mortgages
or related original third lien deed of trust on the Texas Property of record necessary to indicate
that the AAC is/was not a creditor of the Plaintiffs at the time of AAC’s sale of the Texas
Property. However, AAC did release its original third lien deed of trust [Exhibit 19 of the

Appendix] in conjunction with its sale of the Texas Property. [Exhibit 20 of the Appendix. ]

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Plaintiffs’ Amended Petition For Accounting, Claim For Unjust Enrichment, Imposition
Of Constructive Trust, And Request For Declaratory Relief [Doc.38] (“Amended Petition”)
concerns the Texas Property, as defined in the Motion. However, Plaintiffs are not violating the
Friemel Settlement (as defined in the Motion), dated November 6, 2008, because they are not
challenging the foreclosure sale at which AAC purchased the Texas Property [Exhibit 21 of the
Appendix] nor are Plaintiffs challenging the Champion Sale (as defined in the Amended
Petition). [ Exhibits 22, 23, and 24 of the Appendix. ]

Rather, Plaintiffs are challenging, in equity, whether account should be made to them by
AAC for: 1) the funds subsequently paid to and received by AAC from AAC’s November 2012
sale of the Texas Property for an amount believed to have been sufficient to satisfy all debts in
full and clear all liens [Exhibits 12, 16, 25, 26, 27, and 28 of the Appendix] held by Rabo
Agrifinance, Inc. (“Rabo”), an affiliate of AAC [Doc. 38-5 and 38-6.] and 2) for funds
adjudicated to be AAC’s collateral on the judgment debts which were subsequently paid AAC
from the registry of the 222™ District Court.[ Exhibit 29 of the Appendix.]

Plaintiffs filed this matter after the Champion Sale on November 15, 2012 [Doc. 38-4]
because the cause of action in the Amended Petition did not occur until that sale. At the time of
the Friemel Settlement, the Champion Sale had not even occurred and would not occur for four
years. Furthermore, the Friemel Settlement “does not preclude Terra Partners or any Veigel
Entity from pursuing any issues in...[l]itigation, including crossclaims, in New Mexico related to
the foreclosure of the New Mexico property.” [Doc. 35-1 filed 10/01/15,  5(e).]

This case was originally filed in New Mexico’s Tenth Judicial District State Court on
November 14, 2014. [Doc. 2.] The petition was filed as a result of Rabo’s pursuit of a

foreclosure proceeding in New Mexico’s Tenth Judicial District Court. As reflected in Exhibit C

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to the Amended Petition, AAC and Rabo represented to the U.S. Department of Agriculture that
proceeds from the sale of the Texas Property would be used to satisfy obligations owed by
Plaintiffs to Rabo and AAC, including the obligation included in the New Mexico foreclosure.
[Amended Petition, { 17, 18, 37, and 38; Ex. C, Doc.38-3; Answer to Amended Petition (Doc.
51), J 32.]

That is consistent with representations AAC and its parent made to their creditor Rabobank
in 2003 [Exhibit 30 of the Appendix] and subsequently to the 222" District Court. [ Exhibit 31
at page 23 lines 17 — 22; page 25 lines 12 — 25; and page 49 lines 8 — 24 of the Appendix. ]

Though AAC and Rabo released all their liens on the Texas Property [Exhibits 12, 16, 20, 25,
26, 27, and 28 of the Appendix] in connection with the Champion Sale [Doc. 51, J 34 and 35],
none of the proceeds from the Champion Sale paid to and received by the AAC were ever
credited or applied to the Plaintiff's obligations secured by AAC’s and Rabo’s deeds of trust and
judgment liens on the Texas Property. Similarly, none of the registry funds paid to and received
by AAC were ever credited or applied to Plaintiff's obligations. As a result, Plaintiffs seek an
accounting from AAC in this matter which AAC refuses to provide.

Argument

A. The Amended Petition is not a breach of the Friemel Settlement and, in fact, is
specifically excluded from the Friemel Settlement.

The filing of the Amended Petition does not violate the Friemel Settlement. Plaintiffs do not
dispute that they agreed not to challenge AAC’s “right of title, ownership, [or] possession” of the
property at issue, and they are not doing so in this matter. Nowhere in the Amended Petition do
the Plaintiffs challenge AAC’s rights in and/or to the Texas property. Rather, they are properly
requesting an accounting of the funds subsequently paid to and received by AAC resulting from

the sale of the Texas Property, which was acquired by AAC for just $20,000 subject to liens
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securing obligations owed to AAC and Rabo. When AAC sold the Texas Property free and clear
of such liens, there were no funds applied or credit given to any of Plaintiffs’ obligations owed to
AAC or Rabo despite the release of such liens. |
The Amended Petition is related to the New Mexico foreclosure, because it concerns
application of funds that should have been used from the Champion Sale to satisfy the obligation
at issue in the New Mexico foreclosure. The causes of actions in the Amended Petition are
specifically excluded from the Friemel Settlement in Section 5(e). The Motion, as it pertains to

AAC’s counterclaim, should be denied as a matter of law.

B. The accounting claim does not fail.

AAC concedes that an accounting is proper if a debtor-creditor relationship exists. See MTD
[Doc. 39] page 3 and Brief [Doc. 56] page 14. As addressed above and shown by Plaintiff's
summary judgment evidence attached, there is at least a question of material fact precluding
summary judgment as to whether a debtor-creditor relationship exists between Plaintiffs and
AAC,

Further, "An action for accounting may be a suit in equity, or it may be a particular remedy
sought in conjunction with another cause of action." Michael v. Dyke, 41 S.W.3d 746, 754 (Tex.
App. Corpus Christi 2001) (citation omitted) and Watson v. CitiMortgage, Inc., 814 F. Supp.2d
726, 737 (E.D.Tex. 2011) (quoting Brown v. Cooley Enters., Inc., No. 3:11-cv-0124-D, 2011 WL
2200605, at *1 (N.D.Tex. June 7, 2011)). "An equitable accounting is proper when the facts and
accounts presented are so complex that adequate relief may not be obtained at law." Hutchings v.
Chevron U.S.A., 862 S.W.2d 752, 762 (Tex. App. El Paso 1993) (citing Richardson v. First
National Life Ins. Co., 419 S.W.2d 836, 838 (Tex. 1967)). Equitable accounting "is a flexible,

equitable remedy that may apply in various scenarios according to the sound discretion of the
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trial court." Michael v. Dyke, 41 S.W.3d 746, 754 (Tex. App. Corpus Christi 2001) (citing See,
e.g., Gifford v. Gabbard, 305 S.W.2d 668, 672 (Tex. Civ. App.--El Paso 1957, no writ);
Southwest Livestock & Trucking Co. v. Dooley, 884 S.W.2d 805, 810 (Tex. App.-San Antonio
1994)).

Plaintiffs have plead facts, when taken as true, that plausibly allege the accounts
presented are so complex that adequate relief may not be obtained at law. See Doc. 38, Amended
Petition, {J 33-41. For example, the facts alleged in paragraph 39 of the Amended Petition pleads
that the accounts are too complex to show how there has been no application of funds from the
sale of the Texas Property to the Texas Judgment or AAC Notes given the applicability of the
primary fund doctrine pursuant to which the Texas Property became the primary fund for
satisfaction of the superior debts encumbering the property purchased by AAC. Under such
equitable principles of suretyship, Plaintiffs as “sureties” also have rights against AAC, as a
grantee of Terra XXI Ltd.’s equity of redemption in the Texas Property.

Equity requires that the Texas Property first be exhausted in payment of Plaintiffs’ debts
secured by such property. See Whitman and Nelson, Real Estate Finance Law, 5" ed. §5.3 page
273-275. The alleged facts, when taken as true, may be applied either to separate relief in equity
for accounting or may be used as a remedy in other equitable claims in the Court's discretion.
Regardless of how these facts are applied, the facts are pled with enough specificity to
demonstrate that Plaintiffs are entitled to an accounting concerning application of the Champion
Sale proceeds and the registry funds disbursed to AAC the day after the Champion Sale.

Additionally, an accounting is required because Plaintiff has not been able to obtain

adequate legal relief through the use of standard discovery procedures as AAC has opposed
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Plaintiffs’ attempts for standard discovery and has threatened sanctions for even making such

requests.

C. The Unjust Enrichment Claim does not fail

Although unjust enrichment may not be an independent claim under Texas law, the principles
of unjust enrichment still exist. See Walker v. Cotter Props., Inc., 181 S.W.3d 895, 900 (Tex.
App.--Dallas 2006, no pet. hist.) ("Unjust enrichment ... characterizes the result of a failure to
make restitution of benefits either wrongfully or passively received under circumstances that give
rise to an implied or quasi-contractual obligation to repay.") Unjust enrichment "applies the
principles of restitution to disputes where there is no actual contract, based on the equitable
principle that one who receives benefits which would be unjust for him to retain ought to make
restitution." Friberg-Cooper Water Supply Corp. v. Elledge, 197 S.W.3d 826, 831-32 (Tex. App.
2006, pet. granted), rev'd on other grounds, 240 S.W.3d 869 (Tex. 2007).

When discussing claims such as the unjust enrichment claim in this case, Texas courts have
stated that "the facts involved and the relief requested are determinative as opposed to the label
by which the claim is called." Tri-State Chems. v. W. Organics, 83 S.W.3d 189, 194 (Tex. App.
Amarillo 2002)(citing McNair v. Cedar Park, 993 F.2d 1217, 1220 (Sth Cir. 1993)). "Simply put,
the substance of what is pled controls, not the label or name appended to the claim." Id.

In this case, the facts involved and the relief requested all indicate an equitable claim,
regardless of whether it is labeled a claim for unjust enrichment or money had and received.
Plaintiff has plead several facts showing that AAC received a substantial sum of money from the
sale of property in which they only paid $20,000 due to the existing and superior liens thereon.
See Amended Petition, J] 36 — 43, 51, and 54-55. These facts also show that this money had and

received by AAC should have been applied to existing liens on property owned by Plaintiffs and
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was not - thus unjustly enriching AAC at the expense of Plaintiffs. See Amended Petition, $]56-
58. These facts demonstrate that Plaintiffs are entitled to relief on their claim of unjust
enrichment.

D. Constructive Trust Claim

Plaintiffs have agreed to dismiss this claim.

E. Request for a declaratory judgment

This claim may no longer be viable because of the rulings in Rabo’s New Mexico State Court
foreclosure proceeding. The foreclosure sale has been approved on most, but not all of the
property; however, motions for reconsideration, filed by Plaintiffs without counsel, are pending
and will likely result in another appeal.

F. The loan contracts do not bar the claims

AAC’s argument on this point is not relevant. Plaintiffs seek an accounting from AAC of the
funds received from the Champion Sale and do not seek recourse from Rabo in this matter.
Furthermore, the relief requested by Plaintiffs is equitable in nature, based on the primary fund
doctrine. That doctrine generally requires that when land is purchased subject to a mortgage, the
land becomes the primary fund for the payment of the mortgage debt. Wright v. Anderson, 62
S.D. 444, 449-450 (S.D. 1934). Here, AAC purchased the Texas Property subject to superior
liens and the Texas Property should have been looked to first to satisfy those liens.

G. Res Judicata does not bar the claims

Res judicata requires proof of the following elements: (1) a prior final judgment on the

merits by a court of competent jurisdiction; (2) identity of parties or those in privity with them;
and (3) a second action based on the same claims as were raised or could have been raised in the

first action. Amstadt v. United States Brass Corp., 919 S.W.2d 644, 652 (Tex. 1996).

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Plaintiffs, separately and not with the assistance of the undersigned, have challenged
rulings in the New Mexico State Court litigation. The undersigned were permitted to withdraw
as counsel to Plaintiffs in the pending New Mexico State Court litigation. At the present time, it
is unclear whether those state court proceedings will be subject to further appeal and/or
additional proceedings in the State District Court. So, the first element of res judicata cannot be
established at this time based on the status of the New Mexico litigation. Furthermore, Rabo is
the plaintiff in the New Mexico foreclosure and AAC is not a party to that proceeding. Nor is
Rabo a party to this proceeding. Plaintiffs did raise the primary fund doctrine against Rabo as a
bar to the foreclosure action in New Mexico state court. However, Plaintiff's specific equitable
claims, for an accounting and unjust enrichment, have never been ruled on in a final judgment on
the merits against AAC.

WHEREFORE, Plaintiffs request that the Motion be denied.

Respectfully submitted,

KELEHER & MCLEOD, P.A.

By: /s/ Justin B. Breen

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Jeffrey A. Dahl - NM SBN 0622
Justin B. Breen - NM SBN 28108
Post Office Box AA
Albuquerque, New Mexico 87103
Telephone: (505) 346-4646
Facsimile: (505) 346-1370

E-Mail: jad@keleher-law.com
E-Mail: jbb@keleher-law.com

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CERTIFICATE OF SERVICE

THIS HEREBY CERTIFIES that on June 29, 2016, I electronically filed the foregoing document
with the Clerk of the Court for the Northern District Of Texas by using the CM/ECF system,
which will send a notice of electronic filing to the following CM/ECF participants:

Local Counsel for Plaintiffs:

Philip Roland Russ

Law Offices of Philip R. Russ

2700 S. Western St., Suite 1200

Amarillo, Texas 79109

Telephone: (806) 358-9293

Facsimile: (806) 358-9296

E-Mail: PhilipRRuss@RussLawFirm.com

Lead Counsel for Ag Acceptance Corporation:
Barbara Whiten Balliette

Reid Collins & Tsai LLP

1301 S. Captial of Texas Hwy., C-300

Austin, Texas 78746

Telephone: (512) 647-6100

Facsimile: (512) 647-6129

E-Mail: BBalliette@RCTLegal.com

Local Counsel for Ag Acceptance Corporation:
Thomas C. Riney

Riney & Mayfield LLP

320 South Polk Street, Suite 600

Maxor Building

Amarillo, Texas 79101

Telephone: (806) 468-3200

Facsimile: (806) 376-4509

E-Mail: TRiney@RineyMayfield.com

Lead Counsel for Ag Acceptance Corporation [District of New Mexico]:
Richard F. Rowley II

Rowley Law Firm, L.L.C.

P.O. Box 790

Clovis, New Mexico 88102-0790

Telephone: (575) 763-4457

Facsimile: (575) 763-4450

E-Mail: R2@RowleyLawFirm.com

/s/ Justin B. Breen
Justin B. Breen

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